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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                              Action No: 3:17CV72
    Elizabeth Sines, et al                                    Date: October 8,
    vs.                                                       Judge: Norman K. Moon
                                                              Court Reporter: Lisa Blair
    Jason Kessler, et al
                                                              Deputy Clerk: Heidi N. Wheeler



    Plaintiff Attorney(s)                             Defendant Attorney(s)
    Roberta Kaplan                                    James Kolenich
    Karen Dunn                                        Bryan Jones
    Michael Bloch                                     Richard Spencer
    Alan Levine                                       Matt Parrott
    Yotam Barkai
    David Mills
    Alexandra Conlon
    William Isaacson




                                        LIST OF WITNESSES

    PLAINTIFF/GOVERNMENT:                             DEFENDANT:
    1.                                                1.



   PROCEEDINGS:
   TELEPHONIC HEARING AND STATUS HEARING 9:00-9:30=30 min

   Court gives summary for the record to date during in chambers conference call.

   Discussion regarding public space, start times and security during trial.
